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 NOT FOR PUBLICATION


                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY



 NICHOLAS JOVANOVIC, Individually and
 as Administrator for the Estate of Pavle
 Jovanovic,

                            Plaintiff,                         Civil Action No. 22-2098 (ZNQ) (RLS)

                            v.                                                 OPINION

 THE UNITED STATES OLYMPIC AND
 PARALYMPIC COMMITTEE., et al.,

                            Defendants.


 QURAISHI, District Judge

         THIS MATTER comes before the Court upon two motions to dismiss filed by

 (1) Defendant the United States Olympic and Paralympic Committee (“USOPC”) (ECF No. 126),

 and (2) Defendant the USA Bobsled/Skeleton, Inc. (“USABS”) (ECF No. 127) (collectively,

 “Defendants”) following this Court’s previous denial of Defendants’ motions to dismiss and the

 completion of jurisdictional discovery. (ECF Nos. 55, 56.)1 Defendants individually submitted

 briefs in support of the motions. (“USOPC Br.,” ECF No. 126-1; “USABS Br.,” ECF No. 127-1.)

 Defendants also individually submitted various exhibits from jurisdictional discovery. (ECF Nos.

 126-2; ECF Nos. 127-2 to 127-12.) Plaintiff Nicholas Jovanovic (“Plaintiff”), individually and as

 administrator of the estate of Pavle Javanovic, filed opposition briefs in response to both motions.

 (“Opp’n Br. I,” ECF No. 132; “Opp’n Br. II,” ECF No. 133.) Plaintiff also submitted various


 1
  Jovanovic v. United States Olympic & Paralympic Comm., Civ. No. 22-2098, 2023 WL 7179298, at *1 (D.N.J. Mar.
 31, 2023).


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 exhibits. (ECF Nos. 132-1 to 132-24; ECF Nos. 133-2 to 133-21). Defendants individually filed

 reply briefs, (“USOPC Reply,” ECF No. 135; “USABS Reply,” ECF No. 134), and Plaintiff filed

 a sur-reply to USOPC’s reply. (“Sur-Reply,” ECF No. 138.)2 The Court has carefully considered

 the parties’ submissions and decides the Motions without oral argument pursuant to Federal Rule

 of Civil Procedure 78 and Local Civil Rule 78.1.3 For the reasons set forth below, the Court will

 GRANT USOPC’s Motion and DENY USABS’s Motion.

 I.       BACKGROUND AND PROCEDURAL HISTORY4

          The facts giving rise to Plaintiff’s claims are known to the parties. Briefly, Pavle Jovanovic

 (“Pavle”), Plaintiff’s late brother, was a former elite Olympic bobsled athlete. (“Am. Compl.,”

 ¶¶ 89, 91, 92, ECF No. 61.) Pavle represented the United States in nine BMW IBSF World Cups,

 was a member of the United States Bobsled Team during the 2002, 2006, and 2010 Olympic

 cycles, and competed in the 2006 Olympics. (Id. ¶ 96.) In 2006, upon his return home from the

 Olympics, Pavle began to exhibit post-competition fatigue which later turned into cognitive

 impairment. (Id. ¶¶ 100–102.) Pavle was believed to have Chronic Traumatic Encephalopathy

 (“CTE”) which appeared in the form of confusion and fatigue. (Id. ¶ 101.) That confusion later

 turned into frustration and anger. (Id.) In 2009 and 2010, a few years after first exhibiting signs

 of cognitive decline, Pavle developed a light sensitivity and later an alcohol abuse problem,

 emotional problems, and behavioral instability. (Id. ¶¶ 103, 104, 106.) Pavle was ultimately




 2
   The USOPC submitted a letter asking for leave to file a sur-sur-reply in response to Plaintiff’s Sur-Reply. (ECF No.
 139.) Given the extensive briefing on the issue already and lack of prejudice to the USOPC, the Court denies that
 request and does not consider the USOPC’s proposed sur-sur-reply.
 3
   Hereinafter, all references to “Rule” or “Rules” refer to the Federal Rules of Civil Procedure unless otherwise noted.
 4
   For the purposes of considering the Motion, the Court accepts all factual allegations in the Complaint as true. See
 Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008); see also Miller Yacht Sales, Inc. v. Smith, 384 F.3d
 93, 97 (3d Cir. 2004) (“[W]hen the court does not hold an evidentiary hearing on the motion to dismiss, the plaintiff
 need only establish a prima facie case of personal jurisdiction and the plaintiff is entitled to have its allegations taken
 as true and all factual disputes drawn in its favor.”).


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 diagnosed with alcoholism, bi-polar disorder, and depression, all purportedly stemming from his

 CTE. (Id. ¶ 108.) In May 2020, Pavle tragically took his own life. (Id. ¶ 111.)

         As to the parties involved in this action, the USOPC is a federally-chartered nonprofit

 corporation created by the federal Ted Stevens Olympic and the Amateur Sports Act, with a

 principal place of business in Colorado Springs, Colorado. (Id. ¶¶ 18, 19.)5 The USOPC is

 responsible for the “development, safety, and training of athletes for their sports, as well as for the

 selection, organization, promotion, and support of American athletes for the Olympic Games and

 other domestic and international competitions.” (Id. ¶ 21.) The USABS is a nonprofit corporation,

 with a principal place of business in Lake Placid, New York, and governs the Men’s and Women’s

 Bobsled National Teams, among others. (Id. ¶¶ 34, 35.) The USABS is a national governing body

 “responsible for the development, safety, and training of bobsled and skeleton athletes, as well as

 for the selection, organization, promotion, and support of American athletes for the USABS

 Olympic Teams, National Teams, and Development Teams.”6 (Id. ¶ 38.)

         On February 23, 2022, Plaintiff initiated this action in New Jersey Superior Court. (See

 generally Compl., ECF No. 1-2.) Defendants timely removed the suit to this Court. (ECF No. 1.)

 Defendants then filed motions to dismiss arguing that the Court lacked personal jurisdiction over

 them. (ECF Nos. 29, 48.) On March 31, 2023, the Court denied the motions and granted Plaintiff’s

 request for leave to conduct jurisdictional discovery. (ECF No. 55.) The Court found that

 “Plaintiff has raised enough jurisdictional contacts to persuade the Court, in its discretion, to

 [grant] Plaintiff’s request for leave to conduct jurisdictional discovery as to both Defendants.” (Id.



 5
   Congress’s goal in creating the USOPC was “to correct the disorganization and the serious factional disputes that
 seemed to plague amateur sports in the United States.” S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S.
 522, 544 (1987).
 6
   The Court takes judicial notice of the fact that national governing bodies are organizations that govern and manage
 all aspects of their individual sports within the United States. They are responsible for training, competition, and
 development for their sports, as well as nominating athletes to the U.S. Olympic and Paralympic Teams.


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 at 17.) Plaintiff then filed an Amended Complaint (ECF No. 61)7 and discovery took place over

 the next several months. Thereafter, Defendants filed the current motions to dismiss. (ECF Nos.

 126, 127.)

 II.      SUBJECT MATTER JURISDICTION

          The Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the parties are

 diverse and the amount in controversy exceeds $75,000.

 III.     LEGAL STANDARD

          Pursuant to Rule 12(b)(2), a complaint is subject to dismissal for lack of personal

 jurisdiction. See Fed. R. Civ. P. 12(b)(2). The plaintiff “bears the burden of demonstrating the

 facts that establish personal jurisdiction.” Pinker v. Roche Holdings Ltd., 292 F.3d 361, 368 (3d

 Cir. 2002). “If the district court does not hold an evidentiary hearing, the plaintiff[] need only

 establish a prima facie case of personal jurisdiction.” Metcalfe v. Renaissance Marine, Inc., 566

 F.3d 324, 330 (3d Cir. 2009) (internal quotations and citation omitted). “It is well established that

 in deciding a motion to dismiss for lack of jurisdiction, a court is required to accept the plaintiff’s

 allegations as true, and is to construe disputed facts in favor of the plaintiff.” Toys “R” Us, Inc. v.

 Step Two, S.A., 318 F.3d 446, 457 (3d Cir. 2003). Still, “[w]hile disputed issues are construed in

 favor of the plaintiff, allegations may be contradicted by the defendant through opposing affidavits

 or other evidence, at which point the plaintiff must respond with ‘actual proofs, not mere

 allegations.’” Am. Bd. of Internal Med. v. Rushford, Civ. No. 14-6428, 2015 WL 5164791, at *5

 (D.N.J. Sept. 2, 2015) (quoting Patterson by Patterson v. FBI, 893 F.2d 595, 603 (3d Cir. 1990)).



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   The Amended Complaint alleges three counts against the USOPC and the USABS for: (1) negligence; (2) negligent;
 misrepresentation; and (3) wrongful death. (Am. Compl. ¶¶ 400–437.) Plaintiff alleges that the USOPC and USABS
 breached their duty of care to Pavle by failing to research, study, and examine the dangers and risks of head injuries
 and in failing to inform athletes about their findings. (Id. ¶ 402.) Plaintiff also alleges that Defendants were careless
 and acted with intentional disregard for the safety of their athletes by failing to educate and warn athletes about the
 risks of bobsledding. (Id. ¶ 411.)


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 IV.    DISCUSSION

        Defendants seek dismissal of Plaintiff’s Amended Complaint pursuant to Rule 12(b)(2)

 and the USOPC seeks dismissal, in the alternative, under Rule 12(b)(6). First, the Court will decide

 the portion of each Defendants’ Motions seeking dismissal for lack of personal jurisdiction. If

 jurisdiction exists as to the USOPC, the Court will proceed to the merits of its Rule 12(b)(6)

 Motion. Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 430–31 (2007)

 (finding that generally a federal court may not rule on the merits of a case without first determining

 that it has subject matter jurisdiction and personal jurisdiction over a party).

        “A federal court sitting in New Jersey has jurisdiction over parties to the extent provided

 under New Jersey state law.” Miller Yacht Sales, 384 F.3d at 96 (citing Fed. R. Civ. P. 4(e)). The

 New Jersey long-arm statute permits the exercise of personal jurisdiction to the fullest limits of

 due process. IMO Indus., Inc. v. Kiekert AG, 155 F.3d 254, 259 (3d Cir. 1998) (citations omitted).

 “Personal jurisdiction under the Due Process Clause depends upon the relationship among the

 defendant, the forum, and the litigation.” Id. (internal quotation marks and citation omitted). More

 precisely, “[t]he Due Process Clause of the Fourteenth Amendment requires that non-resident

 defendants have ‘certain minimum contacts with [the forum state] such that the maintenance of

 the suit does not offend traditional notions of fair play and substantial justice.’” Marten v. Godwin,

 499 F.3d 290, 296 (3d Cir. 2007) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

        “There are two distinct theories under which personal jurisdiction can arise: general and

 specific.” Allaham v. Naddaf, 635 F. App’x 32, 37–38 (3d Cir. 2015) (citing Grimes v. Vitalink

 Commc’ns Corp., 17 F.3d 1553, 1559 (3d Cir. 1994)). “A court has general jurisdiction when a

 defendant has ‘continuous and systematic’ contacts with the forum state.” Id. (quoting O’Connor

 v. Sandy Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007)). Here, the Court only addresses




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 specific personal jurisdiction because it has already found that Plaintiff has waived his argument

 as to general jurisdiction.8 (ECF No. 55 at 6 n.3.)

          The inquiry as to whether a court may exercise specific personal jurisdiction over a non-

 resident defendant is tripartite. See O’Connor, 496 F.3d at 317. First, “the defendant must have

 ‘purposefully avail[ed] itself of the privilege of conducting activities within the forum.’” Id.

 (quoting Hanson v. Denckla, 357 U.S. 235, 253 (1958)). “[I]t is essential in each case that there

 be some act by which the defendant purposefully avails itself of the privilege of conducting

 activities within the forum State, thus invoking the benefits and protections of its laws.” Hanson,

 357 U.S. at 253. The contacts must be the defendant’s own choice and not “random, isolated, or

 fortuitous.” Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984); see Ford Motor Co. v.

 Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021) (stating that for specific personal

 jurisdiction, the defendant must have “deliberately ‘reached out beyond’ its home” (quoting

 Walden v. Fiore, 571 U.S. 277, 285 (2014))). The unilateral activity of a third party cannot satisfy

 the requirement that the defendant have minimum contacts with the forum state. See Hanson, 357

 U.S. at 253 (noting that the mere “unilateral activity of those who claim some relationship with a

 non-resident defendant cannot satisfy the requirement of contact with the forum State”).

          Second, if there is purposeful availment by a non-resident defendant, a court may exercise

 personal jurisdiction over that defendant only when a plaintiff’s claims “arise out of or relate to

 the defendant’s contacts” with the forum state. Bristol-Myers Squibb Co. v. Superior Ct., 582 U.S.

 255, 262 (2017); Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984).




 8
   This determination is law of the case. Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 815–16 (1988)
 (noting that “the doctrine of law of the case posits that when a court decides upon a rule of law, that decision should
 continue to govern the same issues in subsequent stages in the same case”); Est. of DeRosa v. Murphy, Civ. No. 22-
 02301, 2025 WL 249169, at *4 (D.N.J. Jan. 21, 2025) (explaining that a prior judge’s ruling on an issue earlier in the
 case precluded the losing party from reasserting the claim at a subsequent stage in the case).


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        Third, if the non-resident defendant purposefully avails itself, and the plaintiff’s claims

 arise out of or relate to the defendant’s contacts with the forum state, “due process requires . . .

 that the maintenance of the suit [against the defendant] does not offend ‘traditional notions of fair

 play and substantial justice.’” Int’l Shoe, 326 U.S. at 316 (quoting Milliken v. Meyer, 311 U.S.

 457, 463 (1940)).

        A.      SPECIFIC PERSONAL JURISDICTION OVER USOPC

        For the reasons that follow, the Court finds that it lacks specific personal jurisdiction over

 the USOPC. Specifically, the USOPC did not purposefully direct activities towards the forum

 state. Because Plaintiff cannot show purposeful availment, the Court need not address the

 remaining two prongs of the specific personal jurisdiction analysis.

        In its Motion, the USOPC denies purposefully directing activities towards New Jersey

 because it “did not recruit [Pavle] or any other bobsled athlete, did not host athletic competitions

 in New Jersey, did not operate training centers or training sites in New Jersey, did not control any

 assets in New Jersey, and also did not have any interactions with [Pavle].” (USOPC Br. at 3, 13.)

 In its opposition brief, Plaintiff argues that the evidence establishes that the USOPC purposefully

 availed itself of the privilege of conducting activities in New Jersey by (1) knowingly paying

 (through grant money) for the construction of a bobsled track in Pavle’s backyard, (2) using the

 United States Olympic Paralympic Association to cultivate and grow relationships in New Jersey

 via community building and outreach, (3) receiving major contributions from individuals and

 corporations in New Jersey, (4) targeting New Jersey by hosting special fundraising events like

 the “Night of Champions,” and (5) continuously and deliberately cultivating relationships with

 New Jersey companies to obtain their support, including the support in “providing cutting-edge




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 sports science and sports medicine facilities” to United States athletes like Pavle. (Opp’n Br. I at

 12–14.)

          As an initial matter, neither the allegations in the Amended Complaint nor the evidence

 from jurisdictional discovery sufficiently show that the USOPC specifically targeted New Jersey.

 For example, between 1997 and 2008, the USOPC did not own any training sites in New Jersey.

 (“USOPC Response to Interrogatory,” ECF No. 126-2 at 6.)9 The record reflects that the training

 sites in New Jersey were independently owned facilities and not owned by the USOPC. (Id.)

 Additionally, during the relevant time period, the USOPC’s Sports Medicine Division, Sports

 Performance Division, and Sports Medicine Volunteer Program did not own, operate, control, or

 manage any buildings, facilities, clinics, lands, or leaseholds in New Jersey. (Id. at 9.) Moreover,

 discovery revealed that during the relevant time period, the USOPC did not host any conferences

 or symposia in New Jersey (id. at 15, 16; T1 191:15-19),10 did not own any assets of real property

 in New Jersey (T1 192:4-15), did not host, promote, support, or oversee Olympic trials related to

 bobsledding in New Jersey (T1 191:3-6), did not host any athletic competitions related to

 bobsledding in New Jersey (T1 190:24-191:10; USOPC Responses to Interrogatories at 25), and

 did not provide any healthcare services to Pavle in New Jersey (T1 191:19-22). In fact, there are

 no bobsled tracks in New Jersey, and the USOPC does not recruit athletes for the USABS team.

 (T1 191:11-14.) To add, Lisa Carlock’s deposition revealed that the USOPC likely did not receive

 any information about the USABS’s recruiting events in New Jersey when they conducted their

 three recruiting events. (T2 97:18-25.)11



 9
   The number indicates the page number of the interrogatory, not the interrogatory number.
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    T1 refers to the transcript of the September 9, 2024 deposition of Katherine DeStefano, a Rule 30(b)(6) witness for
 the USOPC, attached to the USOPC’s Motion at ECF No. 126-2 and Plaintiff’s Opposition brief at ECF No. 132-15.
 Katherine DeStefano is the Associate General Counsel of Litigation & Dispute Resolution for the USOPC.
 11
    T2 refers to Lisa Carlock’s deposition transcript that was attached to the USOPC’s Motion. (ECF No. 126-2.) Lisa
 Carlock is a Rule 30(b)(6) witness and current Chief Financial Officer of the USABS.


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         Plaintiff’s theory of personal jurisdiction is largely premised on the fact that Pavle received

 funds from the USOPC with the knowledge that Pavle intended to build a bobsled track in his

 backyard. The USOPC argues that it did not have knowledge that Pavle would build a bobsled

 track. (USOPC Br. at 20.)12 In rebuttal, Plaintiff argues that Pavle’s grant form shows that the

 money would be used for such a purpose. (USABS Br. at 17–18; ECF No. 127-12.) On this point,

 Plaintiff attests that he was “able to construct the track [in his backyard] through funding provided

 by the USOPC,” which he argues is sufficient to exercise jurisdiction over the USOPC. (Jovanovic

 Declaration ¶ 10). The Amended Complaint moreover alleges that the grant money provided by

 the USOPC was used to purchase training equipment and to construct/refine a land push track in

 Pavle’s backyard. (Am. Compl. ¶¶ 65, 77.) In a reply brief, the USOPC argues that Pavle’s

 unilateral choice to build a bobsled track with the grant money does not show that the USOPC

 directly targeted New Jersey. (USOPC Reply Br. at 2.)

         The Court finds that the allegations in the Amended Complaint related to the grant money

 are insufficient to show purposeful availment because contracting with a resident of the forum

 state, without more, is insufficient to confer specific personal jurisdiction. Sovereign Consulting

 Inc. v. Cover Technologies Inc., Civ. No. 21-35, 2021 WL 2802219 at *4 (D.N.J 2021).

 Additionally, the Court finds that the construction of the bobsled track was the direct actions of

 Pavle and Plaintiff and not the purposeful contacts of the USOPC with New Jersey. In other words,

 the intersection between the alleged building of the track and the use of the grant money for the

 track is a “random, fortuitous, or attenuated” contact with New Jersey. See Walden, 571 U.S. at




 12
    The USOPC concedes that “[a]t bottom, the only potentially relevant contact between the USOPC and New Jersey
 is [Pavle’s] receipt of financial support from the USOPC while [Pavle] resided in the State.” (USOPC Br. at 14.)
 The USOPC suggests that although it provided money to Plaintiff in New Jersey, it did not specifically target New
 Jersey in a way relevant to personal jurisdiction. (Id. at 18.) On this point, the USOPC argues that it was the USABS
 that set the criteria for distributing grants to Pavle, not the USOPC. (Id. at 19.)


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 286. The application for the tuition grant did expressly state that Pavle would pursue a civil

 engineering degree and that the grant would assist in “[e]xtending and fine tuning a push track

 [Pavle] built with [his] previous grant money[.]” (See ECF No. 132-3.) But even if the USOPC

 had knowledge that the grant money would be used for refining the bobsled track, it was not

 USOPC’s decision to build it, much less refine it, in New Jersey. See Asahi Metal Indus. Co. v.

 Superior Ct. of Cal., 480 U.S. 102, 109 (1987) (“[F]oreseeability is wholly irrelevant to personal

 jurisdiction.”). The USOPC’s knowledge only shows that it was engaged in transactions with a

 forum resident, which alone does not give rise to specific personal jurisdiction. Sovereign

 Consulting Inc., 2021 WL 2802219 at *4.

        In addition to the grant money used for the bobsled track, it is undisputed that (1) the

 USOPC gave money to Pavle in the form of tuition assistance and grants, and (2) the USOPC

 received funds and sponsorships from various corporate entities in New Jersey. First, as it relates

 to Pavle’s receipt of funds, as briefly discussed regarding the bobsled track, giving Pavle funds is

 insufficient to confer specific personal jurisdiction in New Jersey because the payment of funds to

 a forum resident, without more, does not show a deliberate targeting of New Jersey. See Traisman

 v. Khmelnitsky, Civ. No. 19-11045, 2020 WL 2847751, at *9 (D.N.J. June 1, 2020) (rejecting the

 plaintiff’s argument that the receipt of funds from the defendant is sufficient to confer specific

 personal jurisdiction); G&C Fab-Con, LLC v. M&S Civ. Consultants, Inc., Civ. No. 20-8425, 2021

 WL 268177, at *5 (D.N.J. Jan. 27, 2021) (“[E]ven if the record clearly indicated that the plaintiff

 was processing pay applications or payments from the defendant, this is only one factor to consider

 among the totality of the circumstances.”).

        Similarly, it is well-settled law that merely entering into a contract—or in this case, a grant

 or agreement for funds—with a forum resident does not subject a non-resident to personal




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 jurisdiction. Mellon Bank (East) PSFS, Nat. Ass’n v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)

 (“The fact that a non-resident has contracted with a resident of the forum state is not, by itself,

 sufficient to justify personal jurisdiction over the nonresident.”); see also Walden, 571 U.S. at 285

 (noting that the “minimum contacts analysis looks to the defendant’s contacts with the forum State

 itself, not the defendant’s contacts with persons who reside there”); O’Connor, 496 F.3d at 317

 (“[C]ontacts with a state’s citizens that take place outside the state are not purposeful contacts with

 the state itself.”); Drayage Express, LLC v. Int’l First Serv. United States, Civ. No. 15-3597, 2017

 U.S. Dist. LEXIS 47999, at *15 (D.N.J. Mar. 29, 2017) (defendant’s contract with a New Jersey-

 based co-defendant was insufficient to establish the requisite contacts with New Jersey to support

 specific jurisdiction). But payments to an in-state resident along with additional contacts could

 give rise to minimum contacts. Sovereign Consulting Inc., 2021 WL 2802219 at *4. Here, even

 after discovery, Plaintiff has not shown the additional contacts that are required for the Court to

 exercise specific personal jurisdiction over the USOPC.

        On this point, jurisdictional discovery revealed that the USOPC gave Pavle $182,432.37 in

 grants and other forms of financial assistance payments. (USOPC Responses to Interrogatories at

 26–30.) The USOPC also provided tuition assistance to Pavle. (T1 176:18-25, 178:8-9.) The

 grants, however, were set by the USABS and not the USOPC. (T1 193:22-25.) In fact, discovery

 showed that the USOPC does not have any power over how national governing bodies, like the

 USABS, run their day-to-day operations, so any contacts that the USABS has with New Jersey are

 irrelevant to the USOPC. (T1 188:17-20.) Although the Amended Complaint alleges that the

 USOPC has the authority to prioritize the health and wellness of athletes and to disseminate

 information to its governing bodies (Am. Compl. ¶ 25), according to Katherine DeStefano’s

 deposition, the USABS is an “independent and autonomous” organization. (T1 189:20-22.)




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 Accordingly, even after discovery, Plaintiff has not sufficiently alleged that there is something

 more, in addition to the receipt of funds or the issuance of grants, to subject the USOPC to the

 jurisdiction of New Jersey’s courts.

        As to whether the funds from corporate sponsors constitute purposeful availment, Plaintiff

 contends that there is specific personal jurisdiction over the USOPC because it received financial

 support from corporate sponsors, hosted fundraising events in New Jersey, and received

 contributions from corporate entities in New Jersey.         (Opp’n Br. I at 13.)      Specifically,

 jurisdictional discovery revealed that during the relevant time period, Global Sports Consultants,

 LLC, D/B/A Jet Set Sports (“Jet Set Sports”) and Cooperative Sports, LLC D/B/A Cosport

 (“Cosport”)—each with a principal place of business in New Jersey—entered into two separate

 licensing agreements authorizing Jet Set Sports and Cosport to use the Olympic trademark in

 exchange for royalty payments. (Id. at 12–13.) But merely receiving funds, entering into contracts,

 and interacting with New Jersey corporations does not mean there is purposeful availment of the

 forum. See Ford Motor Co., 592 U.S. at 359 (emphasizing that the inquiry is whether the defendant

 took “some act by which [it] purposefully avails itself of the privilege of conducting activities

 within the forum State”); G&C Fab-Con, LLC v. M&S Civil Consultants, Inc., Civ. No. 20-08425,

 2021 WL 268177, at *5 (D.N.J. Jan. 27, 2021) (“The fact that a non-resident has contracted with

 a resident of the forum state is not, by itself, sufficient to justify personal jurisdiction over the

 nonresident.”) (internal quotation marks and citations omitted); Vetrotex CertainTeed Corp. v.

 Consolidated Fiber Glass Prods. Co., 75 F.3d 147, 152–53 (3d Cir. 1996); see Grand Entm’t Grp.,

 Ltd. V. Star Media Sales, Inc., 988 F.2d 476, 482 (3d Cir. 1993) (“[A] contract alone does not

 ‘automatically establish sufficient minimum contacts in the other party’s home forum’”) (quoting

 Burger King, 471 U.S. at 478); Mellon Bank (East) v. DiVeronica Bros., Inc., 983 F.2d 551, 557




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 (3d Cir. 1993) (“Contracting with a resident of the forum state does not alone justify the exercise

 of personal jurisdiction over a non-resident defendant”).

        Furthermore, Plaintiff cites emails from the USOPC to New Jersey Olympians with an

 invitation to attend the Somerset Patriots minor league baseball game to honor Olympic night,

 (ECF No. 132-6), and an invitation by Jet Set Sports of a networking event in Morristown, (ECF

 No. 132-7) as a way to show that the USOPC targeted New Jersey. Plaintiff argues that the USOPC

 repeatedly communicated with Pavle in New Jersey to help with community initiatives, each time

 concealing that bobsledding can cause CTE and other traumatic brain injuries. (Opp’n Br. I at 20–

 21.) In rebuttal, the USOPC argues that the email invitations to Olympic athlete alumni about

 events hosted by third parties are insufficient to show purposeful availment because the USOPC

 did not host the events in New Jersey; it merely acted as a facilitator of mass email invitations.

 (USOPC Reply Br. at 8 (citing J.S. v. Dalton Schs., Inc., Civ. No. 18-10258, 2019 WL 161507, at

 *3 (D.N.J. Jan. 9, 2019))).

        The Court agrees with the USOPC. The email solicitations and invitations in this case are

 not purposeful contacts with New Jersey because an email solicitation about an event to former

 Olympians is not sufficient to show a deliberate targeting of the forum. See Baanyan Software

 Servs., Inc. v. Kuncha, 81 A.3d 672, 679 (N.J. App. Div. 2013) (“[W]e have held that telephonic

 and electronic communications with individuals and entities located in New Jersey alone, are

 insufficient minimum contacts to establish personal jurisdiction over a defendant.”); Real Est. Sols.

 Today LLC. v. Scifo, Civ. No. 20-4512, 2021 WL 486896, at *5 (D.N.J. Feb. 10, 2021)

 (“Informational communications in furtherance of [a contract between a resident and a

 nonresident] do[] not establish the purposeful activity necessary for a valid assertion of personal

 jurisdiction over [the nonresident defendant]”) (first, second, and third alterations in original).




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 Even more, to RSVP to the Morristown event, a New Jersey Olympian would need to email Jet

 Set Sport, not the USOPC, (see ECF No. 132-7), further showing that the USOPC’s contacts with

 New Jersey via an email invitation are too attenuated.

         In sum, the Court finds that even after jurisdictional discovery, the Amended Complaint

 lacks the necessary allegations to show that the USOPC purposefully availed itself of the New

 Jersey forum. Accordingly, Counts One, Two, and Three of the Amended Complaint will be

 dismissed against the USOPC without prejudice. Plaintiff will not be given further leave to amend

 against the USOPC.13

         B.       SPECIFIC PERSONAL JURISDICTION OVER USABS

         Turning next to the USABS, for the reasons that follow, the Court finds that there is specific

 personal jurisdiction over it.

                  1.      Purposeful Availment

         In the Motion, the USABS argues that there is no evidence that the USABS purposefully

 availed itself of the benefits and protections of the laws of New Jersey. (USABS Br. at 8.) The

 USABS contends that any injury arising from Pavle’s backyard bobsled track was not the fault of

 USABS because the track was a personal workout device. (Id. at 12.) The USABS also argues

 that even though it sometimes reimbursed Pavle for travel to and from New Jersey or that he was

 treated by doctors in New Jersey which were paid by the USABS, there was no specific targeting

 of New Jersey. (Id. at 13, 16.)

         In rebuttal, Plaintiff argues that there is specific personal jurisdiction over the USABS

 because the “USABS knowingly and intentionally targeted New Jersey athletes and donors by

 hosting recruiting events (which the USABS refers to as ‘BurliMan’ events) in New Jersey, every


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   The Court does not reach whether Plaintiff’s claims arise out of or relate to the USOPC’s contacts or whether
 exercising jurisdiction would offend traditional notions of fair play and substantial justice.


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 year from 1995 to 1999.” (Opp’n Br. II at 7–12.) More broadly, Plaintiff argues that “[e]very

 contact USABS ever had with [Pavle] in New Jersey is solely because of the USABS’s efforts to

 cultivate a market and find athletes in New Jersey.” (Id. at 9.) Next, Plaintiff argues that the

 USABS knowingly and intentionally assisted in the construction of and improvement to Pavle’s

 backyard bobsled track. (Id. at 12.) Plaintiff adds that the USABS sourced some of the materials

 used to build the push-track. (Id. at 13.) Additionally, Plaintiff argues that the USABS knowingly

 and intentionally targeted companies and residents in New Jersey for its own financial gain via

 fundraising events and dinners. (Id. at 14–16.) Plaintiff further argues that the USABS paid Pavle

 approximately $75,000 during the course of his career excluding payment for Pavle’s travel to and

 from New Jersey. (Id. at 17.)

            The record reveals that Pavle was a USABS athlete between 1995 and 2008, as a result of

 recruiting events held in New Jersey. (“USABS Responses to Interrogatories,” ECF No. 127-3.)

 The record also shows that the USABS conducted several BurliMan recruiting events in New

 Jersey. (“USABS First Supplemental Responses,” ECF No. 127-6.) More specifically, Lisa

 Carlock’s September 16, 2024 deposition confirmed that Pavle participated in two BurliMan

 events at Seaside Heights and then eventually joined the USABS team in 1997. (T4 111:20-25 to

 112:1-10.)14 On top of this, the USABS utilized newspapers and magazines to reach out to New

 Jersey residents, and targeted New Jersey politicians for more publicity at the BurliMan events.

 (T4 126:3-10.) Furthermore, the USABS sent money to Pavle on June 15, 2005, for an appearance

 at one of its New Jersey fundraisers. (Id. at 12.) As further evidence of purposeful availment,

 discovery showed that the USABS held many fundraising dinners in New Jersey targeted at New

 Jersey residents and corporate entities. (ECF Nos. 127-11; 133-19.) These facts, when taken



 14
      T4 refers to Lisa Carlock’s deposition transcript attached to the USABS’s moving brief at ECF No. 127-12.


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 together, show a deliberate targeting of New Jersey. (See Am. Compl. ¶¶ 70–87 (summarizing the

 allegations of purposeful availment as to USABS)).

        More specifically as to the recruiting events, the USABS argues that its recruiting events

 are insufficient to confer specific personal jurisdiction because they were limited in scope and over

 twenty-seven years ago. (USABS Br. at 14.) Plaintiff, however, argues that the USABS hosted

 at least seven separate BurliMan events in New Jersey and Pavle tried out at two of them and was

 successfully recruited in 1997. (Opp’n Br. II at 10.) The Court agrees with Plaintiff and finds that

 the USABS purposefully availed itself of New Jersey’s benefit by conducting recruiting events in

 New Jersey in 1994, 1995, 1996, 1997, 1998, and 1999. (ECF No. 127-8.) By hosting at least

 seven recruiting events in New Jersey and directing activities towards New Jersey residents, the

 USABS knowingly and intentionally targeted New Jersey athletes and donors. In fact, the

 Amended Complaint alleges that at the 1997 BurliMan event, the USABS set up a portable push-

 track and “a recruiter convinced Pavle to take a break from his job and give the sled a try.” (Am.

 Compl. ¶ 91.) It would simply not be fair if the USABS can come to New Jersey to advertise and

 recruit athletes—on multiple occasions—and then not be subject to this Court’s jurisdiction.

 Marten, 499 F.3d at 296 (“The Due Process Clause of the Fourteenth Amendment requires that

 non-resident defendants have certain minimum contacts with [the forum state] such that the

 maintenance of the suit does not offend traditional notions of fair play and substantial justice.”).

        The Court in its earlier decision found that one recruiting event in 1997 was insufficient

 and too attenuated to establish jurisdiction over the USABS. (ECF No. 55 at 13 (“The recruiting

 event occurred nearly 27 years ago, and accordingly the Court finds this is too “attenuated” for

 USABS to be haled into the forum state.”) However, the benefit of jurisdictional discovery has

 revealed that the USABS conducted numerous recruiting events in New Jersey and purposefully




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 availed itself of New Jersey’s laws by aiming advertisements and recruiting events at New Jersey

 residents. (T4 111:20-25 to 112:1-10; ECF No. 127-8.) See Dupell v. Franklin Towne Charter

 Sch., Civ. No. 16-278, 2016 WL 7042068, at *5 (D.N.J. Dec. 2, 2016). The USABS’s contacts

 with New Jersey were more than just the single recruiting event twenty-seven years ago that was

 previously represented to the Court prior to jurisdictional discovery. These contacts make it

 reasonable that the USABS could anticipate being haled into court in New Jersey. See World–

 Wide Volkswagen Corp., 444 U.S. at 297; Lebel v. Everglades Marina, Inc., 558 A.2d 1252 (1989)

 (concluding that a seller was subject to specific personal jurisdiction in New Jersey because the

 seller telephoned the buyer in New Jersey and created contacts with the forum).

        Moreover, jurisdictional discovery showed that the USABS held multiple fundraising

 events and dinners in New Jersey which are sufficient for the Court to exercise specific personal

 jurisdiction over the USABS when considering the totality of the contacts that the USABS has

 with New Jersey. (ECF Nos. 127-11; 133-19.) Although the Court reiterates that the receipt of

 funds alone are insufficient to satisfy the requisite minimum contacts needed, the record here

 shows that those fundraising events, donations, and receipt of funds were in addition to the

 USABS’s recruiting events, which shows a deliberate and intentional targeting of New Jersey for

 the Court to exercise personal jurisdiction over the USABS. See Traisman, 2020 WL 2847751, at

 *9.

        In sum, the Court finds that the USABS has purposefully availed itself of the benefits and

 obligations of New Jersey’s laws.

                2.      Arise Out of or Relate To

        In addition to purposeful availment, for the reasons that follow, the Court finds that

 Plaintiff properly alleges that his claims “arise out of or relate to” the USABS’s contacts with New

 Jersey. See Daimler AG v. Bauman, 571 U.S. 117, 127 (2014). This prong requires that “there []


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 be ‘an affiliation between the forum and the underlying controversy, principally, [an] activity or

 an occurrence that takes place in the forum State and is therefore subject to the State’s

 regulations.’” Ford Motor Co., 592 U.S. at 360 (quoting Bristol-Myers Squibb Co., 582 U.S. at

 262) (alteration in original). In Ford, the Supreme Court held that the defendant’s connections to

 the forum states via billboards, TV and radio spots, print ads, and direct mail were sufficient to

 show relatedness for purposes of specific personal jurisdiction, even if the specific defective

 product at issue was not sold in the forum. Id. at 355, 365 (“When a company like [defendant]

 serves a market for a product in a State and that product causes injury in the State to one of its

 residents, the State’s courts may entertain the resulting suit.”). Notably, the Court distinguished

 between the “arise out of” language, which denotes causation, and the “relates to” language, which

 contemplates that “some relationship will support jurisdiction without a causal showing.” Id. at

 362.

        As the Court previously noted in its earlier decision, “the second prong is premised on the

 finding that USABS purposefully availed itself by hosting recruiting events in the forum.” (ECF

 No. 55 at 14.) The USABS argues that Pavle’s injuries (i.e. his CTE) arose from the 36 World

 Championships, two North American Cups, and the 2006 Winter Olympics that he participated in

 which did not take place in New Jersey. (USABS Br. at 11.) The USABS argues that Plaintiff

 “can certainly not show that the claim of negligence and resultant injury in any way arose out of

 or is related to USABS’s attenuated contact with New Jersey.” (Id. at 20.)

        Plaintiff argues that his claims directly arise out of or relate to the USABS’s recruitment

 efforts because without them, Pavle would not have joined the bobsled team and gotten CTE from

 bobsledding. (Opp’n Br. II at 20.) Plaintiff further argues that the USABS actively misled and

 concealed from Pavle the risk of bobsledding, and Plaintiff’s claims arose directly from that




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 concealment. (Id. at 21.) Plaintiff also argues that his claims arise out of the USABS’s financial

 relationships with New Jersey companies and the USABS’s financial assistance of Pavle’s

 backyard bobsled track. (Id. at 23.)

        Given the information from jurisdictional discovery, and having previously concluded that

 there has been purposeful targeting of New Jersey, the Court finds that there is a direct correlation

 between the USABS’s recruiting events in New Jersey and Plaintiff’s claims. (See Am. Compl.

 ¶¶ 84, 88, 91, 100–111, 114.) Notably, the Court agrees with Plaintiff that without the USABS’s

 recruiting events in New Jersey, Pavle would not have joined the United States bobsled team.

        Therefore, the Court finds that Plaintiff’s claims arise out of or relate to the USABS’s

 purposeful contacts with New Jersey.

                3.      Due Process

        Lastly, maintenance of the suit against the USABS in New Jersey does not offend

 traditional notions of fair play and substantial justice. Plaintiff argues that maintenance of the suit

 against the USABS does not violate due process. (Opp’n Br. II at 26.) The USABS does not argue

 that the Court’s exercise of jurisdiction is unreasonable.

        In determining whether the requirement to comport with “fair play and substantial justice”

 is satisfied, the Court must consider the burden on the defendant, the interests of the forum State,

 and the plaintiff’s interest in obtaining relief. Asahi, 480 U.S. at 113. It must also weigh “the

 interstate judicial system’s interest in obtaining the most efficient resolution of controversies; and

 the shared interest of the several States in furthering fundamental substantive social policies.” Id.

 (quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980)).

        Here, although the USABS does not argue that the Court’s exercise of jurisdiction is

 unreasonable, the Court finds that the factors to consider weigh in favor of jurisdiction. For

 example, the burden of having to defend this action in New Jersey is relatively low given that the


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 USABS is headquartered in Lake Placid, New York, and not across the country. New Jersey also

 has a strong interest in protecting its citizens from injuries that arise from out-of-state actors, and

 Plaintiff has a strong interest in obtaining relief. As the Amended Complaint alleges, “New Jersey

 is central to this case.” (Am. Compl. ¶ 88.) In sum, the Court finds that there is specific personal

 jurisdiction over the USABS.15

 V.      CONCLUSION

         For the reasons stated above, the Court will GRANT the USOPC’s Motion (ECF No. 126).

 Counts One, Two, and Three of the Amended Complaint against the USOPC will be dismissed

 and Plaintiff will not be given leave to amend his Amended Complaint as to the USOPC.

 Additionally, the Court will DENY the USABS’s Motion (ECF No. 127). An appropriate Order

 will follow.



 Date: April 28, 2025

                                                             s/ Zahid N. Quraishi
                                                             ZAHID N. QURAISHI
                                                             UNITED STATES DISTRICT JUDGE




 15
   The USABS does not argue that Plaintiff fails to state a claim under Rule 12(b)(6). Accordingly, the Court does
 not address whether Plaintiff adequately alleged his claims.


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